Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 1 of 67

EXHIBIT A -

FOIA REQUEST NO. 1
DATED 9 MAY 2017
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 2 of 67

    

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at Columbia University
ALEX ABDOG

BRETT MAX KAUFMAN

Senior Staff Aromey STAFF ATTORNEY

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May 9, 2017

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National Security Agency

ATTN: FOIA Office

9800 Savag:: Road, STE 6932

Ft. George G, Mcade, MD 20755-6932

via facsim le

Central Intelligence Agency
Information and Privacy Coordinator
Central Inte ligence Agency
Washington D.C. 20505

Fax: (703) 63-3007

Department of State

Office of Information Programs and
Services

A/GIS/IPS/RL, SA-2, Suite 8100

Washington D.C, 20522-0208

Fax: (202) 201-8579

via email

Office of the Director of National
Intelligence

Director, Information Management Division
Washington, D.C, 20511

dni-foia@dni.gov

Department of Justice
FOIA/PA Miail Referral Unit
Justice Manz gement Division
Room 115

LOC Building

535 West 1iéth Street, 314 Low Library, New York, NY 10027 | kuightcolumbia.org | (212) 854-9600 | alex abdo@knightcolumbia.or:

 

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Washington, DC 20530-0001
MRUFOL/ \.Requests@usdoj.gov

Office of Legal Counsel

Melissa Go den

Lead Paralugal and FOIA Specialist

Room 5511, 950 Pennsylvania. Avenue, N.W.
Department of Justice

Washingtor., DC 20530-0001

usdoj-office slegalcounsel@usdoj. gov

United Stat:s Army

Freedom of Information Office

7701 Telegraph Road, Suite 150
Alexandria, VA 22315-3905

usarmy.bely oir.hqda-oaa-aha.mbx.rmda-
foia@miail.r iil

via online submission

David M. Hardy, Chicf
Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Department of Justice

170 Marcel Orive

Winchester, VA 22602-4843
hitps://efoiz..thi.gov

Office of the Attorncy General

Laurie Day

Chief, Initial Request Staff

Office of Information Policy

Department of Justice

Suite 11050

1425 Now Y ork Avenuc, NW.

Washington, DC 20530-0001

http://www. justice.gov/oi p/oip-request.btml

Department of Defense

Office of Fre :dom of Information

1155 Defens: Pentagon, Room 20757
Washington, D.C. 20301-1155
http://www. Jod.mil/pubs/foi/ request.html

 

 
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Re: Freedom of Information Act Request
Expedited Processing Requested

To whom it may concern,

The Knight First Amendment Institute at Columbia University, the
American 'Tivil Liberties Union, and the American Civil Liberties Union
Foundation (the “Requesters”) submit this request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 952, for records pertaining to
agency prepublication review of writings by certain former government
officials. Tais request is related to one filed on, March 3, 2016 hy the
ACLU anc. currently being iitigated by the Requesters in American Cixil
Liberties Union ». Central Intelligence Agency, No. 1:16-GV-1256 (D.D.C. filed
June 21, 2016).

L Background

Millions of current and former government employees are prohibited
from publisaing manuscripts that discuss their government service without
first sulmitiing the manuscripts for “pre-publication review.) In recent
years, the srepublication-review system has become dysfunctional and
pohticized, resulting in escalating public and congressional concern.? The
dysfunction and politicization of the prepublication-review system raiscs
serious First Amendment concerns.?

 

 

' See Jack Goldsmith & Oona Hathaway, 7he Government’s Prepublication Review
Process Is Broken, Wash. Post, Dec. 25, 2015, http://wapo,st/ VWTgglj; Jack
Goldsmith & Oona Hathaway, The Scope of the Prepublication Review Problem, and
What to Do About It, Lawfare, Dec. 30, 2015, https:/ fwww_lawlareblog.
com/scope-p republication-review-problem-and-what-do-about-it; Oona
Hathaway & Jack Goldsmith, Path Dependence and the Propublication Review Process,
Just Securty, Dec, 28, 2015, — https:/ /wwew justsecurity.org/2B552/
pathdependence-prepublication-review-process; Oona Hathaway & Jack
Goldsmith, Afore Problems with republication Review), Just Sceurity, Dec. 28, 2015,
bttps:/ /www. justsecurity.ore/28548/ problems-prepublication-review/; Kevin
Casey, Note, Till Death Do Us Part: Prpublication Review in the Intelligence Communit ;
115 Colum. 1, Rev. 417(2015).

? See, e.g., Michael V. Hayden, Playing to the Edge: American Intelligence in the
Age of Terror 426 (2016) (“Since all of my writing has to be cleared for
classification, I dutifully submitted the picce and was told that no articles about
drones would be clearcd regardless of the content. I actually think that's a misuse

of the review process, but beyond that, it’s just plain stupid.”); see alsa id. at xii,
121-22.

3 See, ag, Steven Altcrgood, Fixing Pre-Publication Review: What Should Be Done?,
JustSccurity, Jan 15, 2016, hitnps:/ /wrwrw justsccurity.org/28827/ fixing-pre-
publication-re view-donc (suggesting that the process “has become dysfunctional,

3

 

 
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On Macch 3, 2016, the ACLU sought the release of records relating to
the prepublication review procedures of 19 government agencies. That
request, attached hereto as Exhibit A, is now the subject of Iitigation.

Record: disclosed in response to the ACLU’s earlier FOIA request raise
new quest:ons about the way that the prepublication-review process
operates is practice, Accordingly, the Requesters now seek additional
records.

IL. Records requested

The Requesters seck the following records with respect to the
individuals listed below:

\. ull correspondence between the government and any of the
‘nchviduals listed below relating to the prepublication review or
publication of material intended to be or actually published in
their personal capacities;

2. allinter- and intra-agency correspondence relating to the
prepublication review or publication of material by any of the
individuals listed below that was intended to be or actually was
published by any of those individuals in their personal
Capacities;

3. cll records reflecting decisions—interim, final, and aficr
ppeal—related to the prepublication review of material
yublished by any of the individuals listed below in their
Fersonal capacitics.

We seck the above records with respect to the individuals listed below.
We ask that you give pnority to the processing of records relating to the
publications lisicd underneath each named individual:

\. Michael Hayden, former NSA Director, CIA Director, and
former Deputy Director of National Intelligence

a Playing ta the Edge: American Intelligence in. the Age of Terrar (2016)
2. John Ashcroft, former Attorney Gencral
a. Never Again: Securing America and Restoring Fustice (2006)

3. Jose Rodrigues, former CIA Deputy Director for Operations

 

 

 

overstepping bgitimate national security boundarics and infringing on freedom of
spcech as wel} as the public’s right to know”),

 

 
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a. Hard Measures: How Aggressive CIA Actions Afler 9/11 Saved
American Lives (2012)

4. John Rizzo, former Acting General Counsel for the CIA

a. Company Man: Therty Years of Controversy and Crisis in the CIA
(2014)

3. Leon Panctta, former Secretary of Defense and CIA Director
a. Worthy Fights: A Memoir of Leadership in War and Peace (2014)
6. Robert Gates, former Secretary of Defense
a. Duly: Memoirs of a Secretary at War (2014)
7. Hillary Clinton, former Secretary of State
a. Hard Choices (2014)
8. Donald Rumsfeld, former Secretary of Defense

i, Rumsfeld’s Rules: Leadership Lessons in Business, Patitics, War, and
Lafe (2013)

hh, Known and Unknown: A Memoir (2011)
9. Glenn Carle, former CIA, officer
e. The Interrogator: An Education (2011)

10. Jack Goldsrnith, former Assistant Attomey General and Special
Gounsel to the General Counsel of the Department of Defense

a. The Terror Presidency (2007)

b. The Cyherthreat, Government Network Operations, and the Fourth
Amendment (2010), https:/ /www. brookings.edu/ wp-
content/uploads/2016/06/1 208_4th_amendment _goldsmi
th.pdf

11. John Yoo, former Deputy Assistant Attorney Gencral

a. Grisis and Command: A history of Executive Potuer from George
Washington to George Bush (2010)

b. The Terrorist Surveillance Program. and the Constitution (2007)

 

 
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:18-cv-01129-EGS Document 38-2 PAGE 86/14
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C. War by other means+ An insider's account of the War on Zerrerism
(2006)

d. The Pawers of War and Peace: The Constitution and Foreign Affairs
after 9/7] (2005)

€. Rational War and Constitutional Design (2006)

f. War, Responsibility, and the Age of Terrorism (2004)
12. Ali Soufan, former FBI agent

a. Willa CIA Veteran's Book Save a Terrorist? (2012)

9. Black Banners: The Inside Story of D/11 and the War Against al-
Qaeda (2011)

13, Sshmael Jones (pscudonym), former CIA officer
i Dismantle the CIA's Station Chef System (2009)
bb. Waste and Fraud at the Contral Antelligence Agency (2009)

¢. The Human Factor: Inside the CIA’s Dysfunctional Intelligence
Culture (2008)

14. Michael Morell, former Deputy and Acting Director of the
CIA

a. The Great War of Our Time: The CIA ‘s Fight Against Terrorism —
From al Qaida te ISTS (2016)

15. John Kiriakou, former CIA analyst

a. The Convenient Terrorist: Abu Zubaydah and the Wein Wonderland
of America’s Secret Wars (2017)

b. Doing Time Like a. iy: How the CEA Taught Me to Survive and
Thrive in Prison (20) 7)

c. The Reluctant Spy: My Secret Life-in the CIA’: War on Tesror
(2010)

16. Vileric Plame Wilson, former CIA opcrations officer

a. Fair Game: My Life ava Sty, My Betrayal by the White House
(2007)

17, George Tenet, former Director of Central Intelligence

 

 
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a. At the Center of the Storm: My Years al the CIA (2007)
18 TJ. Waters, former CIA officer
a. The Suicide Squad: CIA Mysteries (2013)

b. Class 11: My Story Inside the CIA’s First Post-9/11 Spy Class
(2007) .

19. Anthony Shaffer, former US Army Reserve Licutenant Colonel
a. Operation Dark Heart (2010)

20. Kevin Shipp, former CIA officer
a. Som the Company of Shadows (2012)

b. dn From the Cold: Secrecy and Operations. A CIA Officer's True
Story (2010)

21. John Nixon, former CIA analyst

1. Debriefing the Presidents The Anterrogation of Saddam, Hussein
(2016)

22. james Mitchell, former CIA contractor

a. Enhanced Interrogation; Inside the Minds and Motives of the Islamic
Terrorists Trying to Deslray America (2016)

Where a document contains information that falls into one or more of
the categories described above, we seek the entirety of that document. If
processing the entirety of a given document would be unusually
burdensome, we ask that you give us an opportunity to narrow our
request. Please disclose all segrcgable portions of otherwisc exempt
records. See 3 U.S.C. § 552(b).

We ask that you provide responsive electronic records in their native
file format. See 5 U.S.C. § 552(a)(3)B).

UL Application for Expedited Processing

The Rec uesters seck expedited processing pursuant to 5 US.C.
§ 552(a)\(6)(E. There is a “compelling need” for the documents sought
because the information they contain is “urgent(ly]” needed by an
organization primarily engaged in disseminating information “to inform
the public ak out actual or alleged Federal Government activity.” 5 U.S.C.
§ 552(aX6\XE)v\M). ,

 

 
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:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 9 of 67
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A. The Requesters are primarily engaged in
disseminating information in order to inform the public
about actual or alleged government activity.

The Requesters are “primarily engaged in disseminating information”
within the meaning of FOIA, 5 U.S.C. § 552(a)(6)\CE\vyM.

The Knight First Amendment Institute is a newly established
Organization at Columbia University dedicated to defending and
strengthen ng the freedoms of speech and the press in the digital age.
Research ind public education are essential to the Institute’s mission.
Obtaining information about government activity, analyzing that
information, and publishing and disseminating it to the press and public
are among the core activities the Institute was established to perform. See,
&§-, amon, others, ACLU v, DOF, 321 ¥. Supp. 2d 24, 29 n.5 (D.D.C.
2004) (Iinding non-profit public interest group that “gathers information of
potential irterest to a segment of the public, uses its editorial skills to turn
the raw material into a distinct work, and distributes that work to an
audience” to be “primarily engaged in disseminating information”),

The ATLU ig similarly “primarily engaged in disseminating
informatior.” within the meaning of FOIA. Obtaining information about
governmen. activity, analyzing that imformation, and widely publishing
and disscminating that information to the press and public are critical and
substantial components of the ACLU’s work and are among its primary
activities. Ses id.

The ACLU regularly publishes STAND, a print magazine that reports
on and analyzes civil liberties-rclated current events. The magazine js
disseminated to over 620,000 people. The ACLU also publishes regular
updates anc alerts via email to over 2.6 mullion subscribers (both ACLU
members ard non-members). These updates arc additionally broadcast to
over 3.2 million social media followers, The magazine as well as the email
and social-nedia alerts often inchide deseriptions and analysis of
information obtained through FOTA requests.

The ACLU also regularly issues press releases to call attention to
documents obtained through FOIA requcsts, as well as other breaking

 

 

* Courts have found thar the ACLU as well as other organizations with similar
Missions that «ngage in information-dissemination activitics similar to the ACLU
ane “primarily engaged in disseroinating information.” See, e.g, Leadership Conference
on Civil Rights i. Gonzales, 404 F-. Supp. 2d 246, 260 (D.D.c, 2005); ACLU, 921 F.
Supp. 2d at 29 n.5: Alec, Privacy Iyfh. Clr v. DOD, 24) F. Supp. 2d 5, 11 (D.D.c.
2003).

PAGE 8/14

 
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- 6/19 Page 10 of 67
718-cv-01129-EGS Document 38-2 Filed 06/0
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news, and ACLU attorncys are interviewed frequently for news storics
about documents released through ACLU FOIA requcsts,®

Similariy, the ACLU publishes reports about government conduct and
civil liberties issues based on its analysis of information derived from
various sources, including information obtained from the government
through FIOJA requests. This material is broadly circulated to the public
and widely available to everyone for no cost or, somctimes, for a small fee.
ACLU national projects regularly publish and disseminate reports that
include a description and analysis of government documents obtained
through FOIA requests.? The ACLU also regularly publishes books,

 

 

* See, og. Pross Release, Arnerican Civil Libertics Union, U.S. Releases Drone Strike
‘Playbook’ in Response to ACLU — Lawsuit (Aug. 6, 2016),
https://wwvachorg/news/ us-releases-drone-strike-playbook-response-aclu-
lawsuit; Pres Release, American Civil Liberties Union, Secret Documents Deseribe
Graphic Abuse and Admit Mistakes (June 14, 2016), https:// www.aclu.org/news/cia-
releases-doac ns-torture-documents-response-aclutawsnit; Press Release,
American C vil Liberties Union, U.S. Releases Targeted Killing Memo in Response to
Long-Running ACLU Lawsuit June 23, 2014), https://www.aclu.org/national-
secunity/us-r <leases-targeted-killing-memo-response-long-runaing-achi] awsuit
Press Release, Amcrican Civil Liberties Union, Justice Department White Paper
Details Rabmale for Tr argeted Killing of ~~ Americans (Feb. 4, 2013),
https; // www aclu -org/national-security /j ustice-department-white-paper-details-
rationale-tarp-eted_killing-americans: Press Release, American Civil Liberties
Union, Docu vents Show FBI Monitored Bay Arca Occupy Movement (Sept. 14, 2012),
http://www aclu.org/news/ documents-show-fhi-monitored-bay-area-occupy-
movement-in sidcbayareacom,

5 See, eg., Co-a Currier, TS4’s Own Files Show Doubifial Science Behind Its Behavioral
Screen Program, Intercept, Feb. 8, 2017,
https://thcein-ereept.com/2017/02/08/ teas-awnfiles-show-coubtlal-science-
behind-its-bchavior-screening-program/ {quoting ACLU attorney Hugh
Handcyside); Karen DeYoung, Newly Declassified Document Sheds Light on How
President Approses Drone Sirikes, Wash. Post, Aug. 6, 2016, http://wapo.st/2iy62cw
(quoting fonner ACLU deputy legal director Jamecl. Jaffer); Catherine
Thorbecke, }7hat Newly Released CEA Documents Reveal About ‘Torture’ in Hs Lormer
Detention Program, ABC, June 15, 2016, hup://aben.ws/ 2jy40d3 (quoting ACLU
staff attorney Dror Ladin): Nicky Woolf, US Marshals Spent $10M on Equipment for
Warrantless Stingray Device, Guardian, Mar. 17, 2016,
hitps:/ /www. :heguardian.com/ world/2016/mar/17/ Us-marshals-stingray-
surveillance-airborne {quoting ACLU attorney Nate Wessler); David Welna,
Gonernment Sussected of Wanting CIA Torture Report to Remain Secret, NPR, Dec. 9,
2015, hup://1:.pr/2jy2p71 (quoting ACLU project director Hina Shamsi).

7 See, e.g.. Hush Handeyside, Mew Documents Show This TSA Program Blamed Jor
Profiling Is Un: crentific and Unreliable —~ But Stil ft Continues (Feb. 8, 201 7, 31:45
AM), hitps://www.achorg/ blog/speak-freely/ new-documents-show-tsa-
Program-blam od-profiling-unscicntific-and-unreliable-still; Carl Takei, ACLU-
Obtained Email: Prove that the Federal Bureau of Prisons Coverad Up Tis Visit to the CIA's
Torture Sile (Nov. 22, 2016, 3:15 PM), https://www.achiorg/ blog/speak-

PAGE 69/14

 
-2 Filed 06/06/19 Page 11 of 67
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“know your rights” materials, fact sheets, and educational brochures and
pamphlet: designed to educate the public about civil liberties issues and
government policies that implicate civil nights and liberties.

The ACLU publishes a widely read blog where original editorial
content reporting on and analyzing civil rights and civil liberties news is
posted daily. See hitps://www.aclu.org/blog, The ACLU creates and
disseminates original cditorial and educational content on civil rights and
civil libertics - news through multi-media projects, including videos,
podcasts, und interactive features. See https:/ /www.aclu.ore/multimedia.
The ACLU also publishes, analyzes, and disseminates information
through it heavily visited website, www.aclu.org, The website addresses
civil nights and civil liberties issues in depth, provides features on civil
rights and sivil liberties issues in the news, and contains many thousands of
documents Telating to the issucs on which the ACLU is focused, The
ACLU's website also serves as a clearinghouse for news about ACLU
cases, a8 well as analysis about case developments, and an archive of case-
related documents. Through these pages, and with respect to each specific
civil libertics issue, the ACLU Provides the public with cducational
material, rocent news, analyses of relevant Congressional or executive
branch action, government documents obtaincd through FOTA requcsts,
and further in-depth analytic and educational multi-media features.

The ACLU website includes many features on information obtained
through the FOLA.9 For example, the ACLU’s “Predator Drones FOIA”

 

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torture; Brett Max Kaufman, Details Abound in Drona Playbook? — Except for the Ones
That Really Matter Most (Aug. 8, 2016, 5:30 PM), https:// www.aclu.org/
blog/speak-fiecly/ details-abound-drone-playbook-cxcept-ones-really-matter.
most; Nathan Freed Wessler, ACLU- Obtained PDocenents Reveal Breadth of Secretine
Stingray Use in Florida (Feb. 22, 2015, 5:30 PM), https:/ /www.aclu.org/blog/frcc-
futurc/achi-obtained-dory tments-reveal-breadth-secretive-stin gray-use-florica;
Ashley Gorski, Naw NSA Documents Stine More Light into Black Box of Executive Order
J2333 (Oct. 30, 2014, 3:99 PM), https:/ /www.aclu.org/ blog/new-nsa-
documents-shine-more-li ght-black-box-cxecutive-order-! 2333; ACLU, ACLU Eye
on the FBI: Documents Reveal Lack of Privacy Safeguards and Guidance in Gevernment’s
“Susprcinues Actinity Report” Systems (Oct. 29, 2013),
hetps://www. achi.org/ sites/delault/files/assets/ cye_on_fbt_-_sars.pdf.

" See, e.g, Nathan Freed Wessler & Dyan Cortez, FBI Releases Details of ‘Rero-Day’
Exploit = Dec stonmaking Process June 26, 29 15, 11:00, AM),
https://www,, ich org/blog/free-future/Ibi-rel eascs-d etails-2ero-day-exploit-
decisionmaking-process: Nathan Freed Wessler, FBI Docununts Reveal New
Lnformation on Baltimore Surumillance Flights (Oct. 30, 2015, 8:00 AM),
hitps://www.i ch org/ blog/free-future/fbi-documents- reveal-new-information-
baltunoressury cillance-flights; ACLU », DOJ — FOIA Case Jor Records Retating to the
Filling of Three U.S. Citizens, ACLU Case Page, hrtps:/ /veww.aclu.org/national-
security/ anwa:-al-awlaki-foia-request: ACLU », Department of Deferisc, ACLS Case

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webpage, — https://www.actu. org/national-sccurity/ predator-drones-foia,
contains commentary about the ACLU’s FOIA request, press releases,
analysis 0° the FOIA documents, numerous blog posts on the issue,
document: related to liagation over the FOIA request, frequently asked
questions abont targeted killing, and links to the documents themselves.
Similarly, the ACLU maintains an online “Torture Database,” a
compilatioa of over 100,000 pages of FOIA documents that allows
researcher: and the public to conduct sophisticated searches of FOIA
documents relating to government policies on rendition, detention, and
interrogation.%

The ACLU has also published a number of charts and explanatory
materials that collect, summarize, and analyze information it has obtained
through the FOLA. For example, through compilation and analysis of
inforraation, gathered from various sources—including information
obtained f-om the government through FOIA requests—the ACLU
creaicd an original chart that provides the public and news media with a
comprehensive summary index of Bush-era Office of Legal Counsel
memos relzting to interrogation, detention, rendition, and surveillance.’
Similarly, the ACLU produced an analysis of documents released in
Tesponse to a FOIA request about the TSA’s behavior detection
program!!; a summary of documents released in response to a FOIA

 

Page, https: /www.aclu.org/cases/ aclu-v-department-defense; Mapping the FBI:
Uncovering busine Surveillance and Racial Profiling, ACLU Case Page,
https:/ ‘www. aclu.org/mappingthefhi; Bagram FOIA, ACLU Case Page
https:/ /www_acht.org/cascs/bagram-foia; CSRT FOL, ACLU Case Page,
https:/ fwww aclu.org/national-sccurity/esrt-foia; ACLU vu. DOF — Lawsuit to
Enforce NSA  Warraniless Sumveillance FOIA Request, ACLU Case Page,
bitps://www aclu.org/ aclu-v-do}-lawsuit-cnforce-nsa-warran tless-surveillance-
foia-rcquest; Patriot FOIA » ACLU Case Page, https:/ /www.aclu.org/patriot-foia;
NSE Pocumens Released by DOD, ACLU Case Page, hetps:/ /www.achi.org/ usl-
documents-re leased-dod?redirect=cpredirect/ 32088.

9 The Tortur Database, ACLU, hitps:/ /www.thetorturedatabase.org; fee also
Countering Violent Extremism FOIA Database, ACLU, bups:/ /www.aclu.org/foia-
collection/ cv -foia-documents; TSA Behavior Detection FOIA Database, ACLU,
hitps://www.aclu -org/foia-collection/ tsa-behavior-dctection-foia-database;
fargeted Kilkixg FOIA Database, ACLU, hitps://www.aclu.org/foia-collection/
targcted-lallin 2-foia-database,

0 Index of Busi.-Era OLC Memoranda Relating to Interrogation, Detention, Rendition and/or
Surveillance, ACLU (Mar, 5, 2009), hitps:// www.aclu.org/sites/default/files/
pdfs/safefrcr/ alememos_2009_0305. pdf.

"Bad Trip: Debunking the TSA's ‘Behavior Detection? Program, ACLU (2017),
hitps://www.uclu.org/sites/default/ files/ficld_document/dem 17-
tsa_detection_report-v02.pdf.

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request related to the FISA Amendments Act!4; a chart of original statistics
about the Defense Department’s use of National Security Letters based on
its own analysis of records obtained through FOIA requests!*: and an
analysis of documents obtained through FOIA requests about FBI
surveillance > flights over Baliimore,"4

The Re questers plan to analyze, publish, and disseminate to the public
the information gathered through this request at no cost.

B. The records sought are urgently needed to inform the
public about actual or alleged government activity.

The documents sought are urgently needed to inform the public about
actual or al.eged government activity. See 5 U.S.C. § 552(a)(G\E)(vyAN).

While agencies’ pre-publication regulations are in part public, the
implementation of those regulations is almost cntrely invisible outside the
government. The records requested here are urgently necded to allow the
public to better understand the way the regulations are implemented, and
to enable it to evaluate whether agencies’ Prepublication-review processes
are cflective and fair. The records would also allow the public to better
understand the lawfulness of agencies’ activity on a matter that closely
relates ta fiindamental nghts and gives room for abuse of discretion,
impacting public trust in government. The effectiveness, fairness, and
lawfulness of the prepublication-review process is a matter of significant
public interest and ongoimg media attention, !5

2 Summary of BISA Amendments Act FOIA Documents Released on November 29. 20} 0,
ACLU,

hetps://www.aclu.org/files/ pdis/natsec/faafoia20101129/20101 1 29Summary.p
df,

‘3 Statisties on NSL’s Produced by Department of Defense, ACLU,
https://www. ich.org/ other/statistics-nsls-produced-dod.

'* Nathan Freed Wessler, FBI Documents Reveal New Jnformation on Baltimore
Surueillance Flishts (Oct. 30, 2015, 8:00 AM), htnps:/ /www.acluorg/blog/frec-
future /fbi-doc uments-reveal-ncw-infarmation-baltimorc- surveillance-flights.

® See, eg, Thomas Reed Willemain, A Personal Tale of Prepublication Review,
Lawhare, Jan. 1 0, 2017, — https:// www lawfarchlog.com/ personal-tale-
prepublication-review; Nada Bakos & John Nixon, The CIA Js Delaying Our Books’
Publicotion, and That Burts Our Democracy, Wash. Post, Dec, 22, 2016, http://www.
washingtonpost.com/ opinions/ the-cia-is-delaying-our-books-publication -and-
that-hurts-our- democracy/2016/12/29/ O68F1 I 5c-ba8e-] 1e6-O4ac-

20324840 108c_story.huml?utm_term=,6¢13091097¢3: David Kris, The CIA’s New
Guidelines Craverning Publicly Available Jnformation, Lawfare, Mar. 21, 2017,
https://www.k Wfareblog.com/ cias-new-guid elines-governing-publi cly-availabic-
information; se: also Stipra notes 2 and 3,

PAGE 12/14

 
-2 Filed 06/06/19 Page 14 of 67
:18-cv-01129-EGS Document 38-2 PAGE 13/14
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For these reasons, the Requesters are entitled to expedited processing.
IV. Application for Waiver or Limitation of Fees

The Requesters seek a waiver of document. search, review, and
duplicatior. fees on the grounds that disclosure of the requested records is
in the public interest. and that disclosure ‘is “likely to contribute
significantly to the public understanding of the operations or activities of

the public interest, Morcover, disclosure would not further the Requesters’
.commiercia. interests. ‘The requesters will make any information disclosed
available to the public at no cost. Thus, a fee waiver would fulfill
Congress’s legislative intent in amending FOIA to ensure “that it be
liberally construed in favor of waivers for noncommercial requcsters.” See

Judicial Wath, Inc. v, Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003).

The Kni zht Institute also requests a waiver of search and review fecs on
the ground: that it qualifics as an “cducational . .. institution” whose
Purposes include “scholarly .. . research” and the records are not sought
for commercial use. 5 US.C. § 552(a(4XADID. The Institute hag a
substantial educational mission, Situated within a prominent academic
research un versity, the Institute will perform scholarly research on the
application of the First Amendment in the digital era. The Institute 18 in
the midst o7 inaugurating a research Program that will bring together

First Amenc'ment issues and offer informed, non-partisan commentary
and solutions, It will publish that commentary in many forms—in
scholarly publications, in long-form reports, and in short-form essays,

The Requesters also request a waiver of scarch and revicw fecs on the
grounds that they are “representative[s] of the news media” within the
meaning of POIA and the records are not sought for commercial usc. 5
U.S.C. § 952: a)(4 AGI.

The Requesters cach meet the statutory definition of a “representative
of the news niedia” because each “gathers information of potential interest
to a segment of the public, uses its editorial skills to turn the raw miatcrials
inte a distinc: work, and distributes that work to an audience.” 5 U.S.C.
§ S52(aX4\AMii): see also Nat] See. Archive v. DOD, 880 F.2d 1381, 1387 (D.C.
Cir, 1989) (fir. ding that an organization that gathers information, exercises
editorial discrstion in selecting and organizing documents, “devises indices
and finding aids,” and “distributes the resulting work to the public” is a
“representative of the news media” for purposes of the F. OTA); accord Serv,
Women’s Action Network v, DOD, 888 F. Supp. 2d 292 (D. Conn. 2012);

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- led 06/06/19 Page 15 of 6
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ACLU of Wash. V. DOF, No. C09-0642RSL, 2011 WL 887731, at *10
(W.D. Wash. Mar. 10, 2011); ACLU, 321 ¥. Supp. 2d at 30 0.5. Courts
have found other non-profit organizations, whose mussion of research and
public education is similar to that of the requesters, to be “representatives
of the news media.” See, 6.g., Cause of Action v. IRS, No. 13-0920, 2015 WI,
9120863 (D.C. Cir. Aug. 28, 2015): Elec. Privacy Info. Ctr., 241 F. Supp. 2d
at 10-15 (finding non-profit group that disseminated an electronic
newsletter and published books was a “representative of the news media”
for purposes of the FOIA); Natl See. Archive, 880 F.2d at 1387; Fudicial
Watch, Ine. v. DOF, 133 F. Supp. 2d 52, 53 — 54 (D.D.C. 2000) (finding
Judicial Witch, self-described as a “public interest law firm,” a news media
requester).

For these reasons, the Requesters are entitled to a fee waiver.

* * *

Thank you for your attention to our request. We would be happy to
discuss its tarms with you over the phone or via email. Please direct any
correspondence and responses to this request to Alex Abdo.

T certify that the above js true and correct to the best of my knowledge.

Stncercly,

G Chk,
Alex Abdo”

Knight First Amendment Institute at
Columbia University

314 Low Library

535 West 116th Street

New York, NY 10027

alex.abdo@knightcolu mbia.org

(212) 854-9600

Brett Max Kaufman

Center for Democracy

American Civil Liberties Union
Foundation

125 Broad Street, 17th Floor

New York, NY 10004

bkaufman@aclu.o

(212) 549.9603

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* The Knight Fir « Amendment Institute appreciates the assistance of Alexandra Sinclair,
Renata Sayao, Famya Krishnan, Maria Emilia Mambctti, and Jeffrey S. Stein in the
drafting of this re quest,

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 16 of 67

EXHIBIT B -

CIA ACKNOWLEDGEMENT LETTER
DATED 15 MAY 2017
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 17 of 67

Central Intelligence Agency

 

Washington, D.C. 20505

15 May 2017

Mr. Alex Abdo

Knight First Amendment Institute at
Columbia University ,

314 Low Library

535 West 116" Street

New York, NY 10027

Reference: F-2017-01688
Dear Mr. Abdo:

On 10 May 2017, the office of the Information and Privacy Coordinator received your 9 May 2017
Freedom of Information Act (FOIA) request, submitted on behalf of the Knight First Amendment
Institute at Columbia University, the American Civil Liberties Union, and the American Civil Liberties
Union Foundation, for the following records with respect to the individuals listed below:

1. all correspondence between the government and any of the individuals listed below relating

to the prepublication review or publication of material intended to be or actually published
in their personal capacities;

2. allinter- and intra-agency correspondence relating to the prepublication review or
publication of material by any of the individuals listed below that was intended to be or
actually was published by any of those individuals in their personal capacities;

3. all records reflecting decisions - interim, final, and after appeal - related to the

prepublication review of material published by any of the individuals listed below in their
personal capacities.

We seek the above records with respect to the individuals listed below. We ask that you give

priority to the processing of records relating to the publications listed underneath each named
individual:

1. Michael Hayden, former NSA Director, CIA Director, and former Deputy Director of
National Intelligence

a. Playing to the Edge: American Intelligence in the Age of Terror (2016)
2. John Ashcroft, former Attorney General

a. Never Again: Securing America and Restoring Justice (2006)

3. Jose Rodriguez, former CIA Deputy Director for Operations

a. Hard Measures: How Aggressive CIA Actions After 9/11 Saved American Lives (2012)
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 18 of 67

4. John Rizzo, forrier Acting General Counsel for the CIA
a. Company Man: Thirty Years of Controversy and Crisis in the CIA (2014)
5. Leon Panetta, former Secretary of Defense and CIA Director
a. Worthy F’ghts: A Memoir of Leadership in War and Peace (2014)
6. Robert Gates, former Secretary of Defense
a. Duty: Memoirs of a Secretary at War (2014)
7. Hillary Clinton, former Secretary of State
a. Hard Choices (2014)
8. Donald Rumsfeld, former Secretary of Defense
a. Rumsfeld's Rules: Leadership Lessons in Business, Politics, War, and Life (2013)
b. Known and Unknown: A Memoir (2011)
9,. Glenn Carle, former CIA officer
a. The Interrogator: An Education (201 i)

10. Jack Goldsmith, former Assistant Attorney General and Special Counsel to the General
Counsel of the Department of Defense

a. The Terror Presidency (2007)

b. The Cyberthreat, Government Network Operations, and the Fourth Amendment (201 0),

‘https:/ /www.brookings.edu /wp-content/uploads/2016/06/1208_4'*_amendment_
goldsmith.pdf

11. John Yoo, former Deputy Assistant Attorney General

a. Crisis and Command: A history of Executive Power from George Washington to George
Bush (2010)

b. The Terrorist Surveillance Program and the Constitution (2007)

c. War by oter means: An insider's account of the War on Terrorism (2006)

d. The Powe’s of War and Peace: The Constitution and Foreign Affairs after 9/11 (2005)
e@, Rational War and Constitutional Design (2006)

£ War, Resy onsibility, and the Age of Terrorism (2004)
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 19 of 67

12. Ali Soufan, former FBI agent

a. Willa CIA Veteran's Book Save a Terrorist? (2012)

b. Black Banners: The Inside Story of 911 and the War Against al-Qaeda (2011)
13. Ishmael Jones (pseudonym), former CIA officer

a. Dismantl the CIA's Station Chief System (2009)

b. Waste ani! Fraud at the Central Intelligence Agency (2009)

c. The Humn Factor: Inside the CIA's Dysfunctional Intelligence Culture (2008)
14. Michael Morell. former Deputy and Acting Director of the CIA

a. The Grea War of Our Time: The CIA's Fight Against Terrorism—-From al Qa’ida to
LISTS (201:3)

15. John Kiriakou, former CIA analyst

a. The Convznient Terrorist: Abu Zubaydah and the Weird Wondertand of America's
Secret Wars (2017)

a. Doing Tine Like a Spy: How the CIA T, aught Me to Survive and Thrive in Prison
(2017)

b. The Reluctant Spy: My Secret Life in the CIA's War on Terror (2010)
16. Valerie Plame Wilson, former CIA operations officer

a. Fair Gam2: My Life as a Spy, My Betrayal by the White House (2007)
17. George Tenet, former Director of Central Intelligence

a. At the Center of the Storm: My Years at the CIA (2007)
18. T.J. Waters, former CIA officer

a. The Suicide Squad: CIA Mysteries (2013)

b. Class 11: Uy Story Inside the CIA's First Post-9/11 Spy Class (2007)
19. Anthony Shaffer, former US Army Reserve Lieutenant Colonel

a. Operation Dark Heart (2010)

20. Kevin Shipp, former CIA officer
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 20 of 67

a. From the Company of Shadows (2012)

b. In From the Cold: Secrecy and Operations. A CIA Officer's True Story (2010)
21. John Nixon, foriner CIA analyst

a. Debriefing the President: The Interrogation of Saddam Hussein (2016)
22. James Mitchell, former CIA contractor

a. Enhances’ Interrogation: Inside the Minds and Motives of the Islamic Terrorists Trying
to Destro) Ainerica (2016)

Where a document contains information that falls into one or more of the categeries described
above, we seek the entir aty of that document. If processing the entirety of a given document would
be unusually burdensome, we ask that you give us an opportunity to narrow our request. Please
disclose all segregable portions of otherwise exempt records, See 5 U.S.C. § 552(b).

You have requested expedited processing. Generally, we handle all requests in the order we
receive them; that is “‘firs -in, first out.’ We make exceptions to this rule when a requester establishes a
compelling need in accordance with our regulations. We have reviewed your request and determined it
does not meet the criteria for expedited processing. Specifically, the request-neither involves an imminent
threat to the life or physical safety of an individual, nor is it made “by a person primarily engaged in
disseminating information, and the information is relevant to a subject of public urgency concerning an
actual or alleged or Federal activity.” Therefore, we have determined that you have not established a
“compelling need” for the information as set forth in 32 CFR § 1900.34. Your request for expedited
processing is hereby denizd. You may appeal this decision, in my care, within 90 days from the date of
this letter. Should you choose to appeal the denial of your request for expedited processing, you are
encouraged to provide an explanation supporting your appeal.

Our officers will review your request and will advise you should they encounter any problems or
if they cannot begin the sarch without additional information. We have assigned your request the
reference number above. Please use this number when corresponding so that we can identify it easily.
Unless you object, we wi | limit our search to ClA-originated records up to and including the date the
Agency starts its search. In accordance with our regulations, as a matter of administrative discretion, the
Agency has waived the fees for this request.

Sincerely,

“pg —

Allison Fong
Information and Privacy Coordinator
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 21 of 67

EXHIBIT C -

PLAINTIFF’S OBJECTION LETTER TO
CIA’S REQUEST TO LIMIT THE SCOPE
OF REQUEST NO. 1

DATED 22 MAY 2017
 

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tt cee etka Tg LIBERTIES UNION
at Columbia University :

ALEX ABOO BRETT MAX KAUFMAN

Senior Staff Attorney

STAF® ATTORNEY

May 22, 2017

via facsinile

Central Incelligence Agency
Information and Privacy Coordinator
Central Inelligence Agency
Washingtoa, D.C. 20505

Fax: (703) 513-3007

MAY 2 2 2017

Re: Freedom of Information Act Request
-F-2017-01688

 

Ms. Fong,

On May 22, 201 7, We received your letter of May 15, 2017, in which
you acknowledged receipt of our Freedom of Information Act request
relating’ to the Prepublication review of the writings of specified
individuals, denied expedited processing, and granted a fee waiver.

Your letter stated that “[ululess you object, we will limit our search to
CIA-originated records.” We write to object to your narrowing of our
request to CIA-originated records, Our request seeks all records in the
CIA’s possession that are responsive to the request’s terms.

Also, if possible, we would much prefer that You communicate with us
via email, rather than physical mail. Email is, of course, faster and more
efficient than Physical mail, and it scems Perfectly suited to
correspondence related to Freedom of Information Act requests, for whic;

speed maiters. My email address jg alex.abdo@knightcolumbia, org.

585 Westie Strect, 314 Low Library, New York, NY 10027 { knighteoltmbin.org I @22) 854-9600 | aexabdo@kni

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Sincerely,

_ Knight First Amendment Institute at
Cohmbia University
314 Low Library
535 West 116th Strect
New York, NY 10097 .
alex.abdo@knightcolumbia.org
(212) 854-9600

Brett Max Kaufman

Center for Democracy

American Civil Liberties Union
Foundation

125 Broad Street, | 7th Floor

New York, N¥ 10004

bkaufman@aclu.or

(212) 549.2603

 

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 24 of 67

EXHIBIT D -

CIA’ LETTER TO PLAINTIFF
REQUESTING CLARIFICATION RE THE
BROAD SCOPE OF REQUEST NO. 1

DATED 31 OCT 2017
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 25 of 67

Central Intelligence Agency

 

Washington, D.C. 20505

31 October 2017
Mr. Alex Abdo

Knight First Amendment Institute at
Columbia University

314 Low Library

535 West 116" Street

New York, NY 10027

Reference: F-2017-01688

Dear Mr. Abdo:

This is further to our letter dated 15 May 2017 concerning your 9 May 2017 Freedom of
Information Act (FOIA) request, submitted on behalf of the Knight First Amendment Institute of

Columbia University, and the American Civil Liberties Union, and the American Civil Liberties Union
Foundation for the following:

1. All correspondence between the government and any of the 22 individuals listed in
your request relating to the prepublication review of publication of material intended
to be or actually published in their personal capabilities;

2. All inter-and intra-agency correspondence relating to the prepublication review of
publication of material by any of the 22 individuals listed in your request that was

intended to be or actually was published by any of those individuals in their personal
capacities;

3. All records reflecting decisions — interim, final, and after appeal —related to the

prepublication review of material published by any of the 22 individuals listed in
your request in their personal capacities.

Our office would like to reach out about the clarification pertaining to the scope of your request.
AS your request is written, the interpretation has been described in different ways. For example, you said
that you wish for us to give priority to the processing of records related to the named publications for each
of the 22 named individuals as referenced in your request. A copy of our 15 May 2017 letter is enclosed
to help you in this communication. We are asking that you clarify this part of your request as we
understood this to be for records related to the named publications only. We will hold your request in
abeyance for 45 days from the date of this letter pending your response.

Sincerely,

Cf

Allison Fong
Information and Privacy Coordinator

Enclosure
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 26 of 67

EXHIBIT E -

FOIA REQUEST NO. 2

DATED 13 DEC 2017
 

Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 27 of 67
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KNIGHT
FIRST AMENDMENT
INSTITUTE

at Coluntbia University

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December 13, 2017

DEC 18 7617

via FedEx

Headquart =rs Air Force / AAII (FOTA)
1000 Air Force Pentagon
Washington, D.C. 20330-1000

Commandant (CG-611)

Atun: FOLIA. Officer

U.S. Coast Guard

2701 Martin Luther King, Jr. Ave., SE
Stop-7710

Washington, D.C. 20593-7710

Defense Intelligence Agency
Aun: FACS Al (FOIA)

7400 Penta zon

Washington, D.C. 20301-7400

Department of Energy

FOIA Requester Service Center
1000 Indep endence Ave., SW
Mail Stop MA-46

Washingtor , D.C. 20585

Departmen. of Homeland Security

Sam Kaplan

Chief Privacy Officer/ Chief FOIA Officer
The Privacy Office

245 Murray Lane SW

Stop-0655

Washington, D.C. 20528-0655

FOIA Request

Department of the Treasury
Washington, D.C. 20220

1140 Amsterdam Ave., 206 Kent Hall, New York, NY 10027 : knighteohimbia.org | (212) 8$4-1626 | ramya.krishnangehnightcalombia.org

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Freedom of Information & Privacy Act Unit (GARE
Drug Enforeement Administration

8701 Morissette Drive

Springfield, VA 22152

Headquas ters U.S. Marine Corps
FOIA/PA Section (ARSE)

3000 Marine Corps Pentagon
Washington, D.C. 20350-3000

National Gcospatial-Intelligence Agency
FOTA/PA, Requester Service Center
Mail Stop S01-EGM

7900 GEOINT Drive, MS N22-SISM
Springfiel 1, VA 22150-7500

National Xeconnaissance OMec
OCIO/Tiformation Review and Release Group
14675 Le: Road

Chantilly. VA 20151-1715

Office of be Chief of Naval Operations
Department of the Navy

VOIA/Privacy Act Program Office/Service Center
Attn: DNS 36

2000 Navy Pentagon

Washington, D.C. 20350-2000

Federal Burcau of Investigation

FOI/PA Request :
Record/Information Dissemination Section
170 Marcel Drive

Winchester, VA 22602-4843

Information and Privacy Coordinator
2entral | itelligence Agency
Washington, D.C. 20505 _

Office of Inspector General
Central J atelligence Agency
Washington, D.C. 20505

Depart snt of Defense

Freedom of information Division
1155 Delense Pentagon
Washing on, D.C. 20301-1155

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Page 28 of 67

 

 

 
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National S.:curity Agency

FOIA/PA Office

9800 Savayre Road, Suite 6248

Ft. George G. Meade, MD 20755-6248

Office of Information Programs and Services
A/GIS/IP3/RL, Suite 8100

U.S. Depa tment of State

Washingtoa, D. C. 20522-0208

 

via email

Director, laformation Management Division
Office of tt e Director of National Intelligence
Washingtoa, D.C. 20511

dni-foia@c ni.gov

FOIA/PA Mail Referral Unit
Department of Justice

Room 115

LOC Builc ing

Washingto1, DC 20530-0001
MRUFOIA. Requests@usdoj.gov

~ United Sta :es Army
Freedom 0° Information Office
770) Telegraph Road, Suite 150
Alexandria, VA 29315-3905
usarmy.bel voi r-hqda-oaa-ahs.mbx.rmda-foia@mail_mil

Re: Freedom of Information Act Request
Expedited Processing Requested

To whom it may concern,

The Kright First Amendment Institute at Columbia University,| the
American ‘Civil Liberties Union, and the American Civil Liberties Union
Foundatior. (the “Requesters”) submit this request under the Freedom of
Information Act (“FOIA”), 5 U.S.C. § 552, for records pertaining tol the
prepublication-review requirements of Intelligence Community (* Cc”)
agencies. This request is related to two earlier ones, the first filed on
March 3, 2016 and currently being litigated by the Requesters in Amehican
Civil Libertics Union v. Central dnlelligence Agency, No. 1:16-CV-1256 (D.D.C.

filed June 21, 2016), and the second filed on May 9, 2017.

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I. Background

Millions of current and former government employces are prohilpited
from publishing anything that discusses their government service without
first subnitung their publications to “prepublication review.”! [Phe
govermment’s — prepublication-review — procedures have —_ become
dysfunctional and politicized, resulting in escalating public jand
congressio ral concern.? “The dysfunction and politicization of| the
prepublication-review procedures raises serious First Ameneliment
concerns.4

On March 3, 2016, the ACLU sought the release of records relating to
the prepublication-revicw procedures of 19 government agencics | and
agency co npouents.’ ‘What request is now the subject of litigation by the
Requesters.

On May 9, 2017, the Requesters sought the release of redords
pertaining to prepublication review of writings by certain fofymer
governme 1 officials.5

 

' See Jack Goldsmith & Oona Hathaway, The Government's Prepublication Review
Process Is 3roken, Wash. Post, Dec. 25, 2015, http:/ /wapo.sU/ TY Tyg )j;| Jack
Goldsmith & Oona Hathaway, The Scope of the Prepublication Review Problem, and
What to 1 About ft, Lawlare, Dec. 30, 2015, htips://www.lawfardblog.
com/scope -prepublication-review-problem-and-what-do-about-it; Jona
Hathaway & Jack Goldsmith, Path Dependence and the Prepublication Review Process,
Just Secarity, Dee. 28, 2015, hUps://www.justsecurity.org/24552/
pathdcpendence-prepublication-review-process; Oona Hathaway & | Jack
Goldsmith, More Problems with Prepublication Review, Just Security, Dec. 28, 2OLS,
https://ww w.justsecurity.org/28548/ problems-prepublicatian-review/; Kevin
Casey, Note, Till Death Do Us Part: Prepublication Review in the fntelligence Community,
115 Gohan. L. Rev. 417 (2015).

+ See, og., Michael V. Hayden, Playing to the Edge: American Intelligence in the
Age of Terror 426 (2016) (“Since all of my writing has to be elearcH for
classificaticn, | dutifully submitted the piece and was Llold that ne articles About
drones would be cleared regardless of the content. I actually think that's a nhisuse
of the review process, but beyond that, it’s just plain stupid”); see advo id. at xii,

12) --22.

4 See, eg. Steven Aftergood, Fixings Pre-Publication Review: What Should Be Done » Just
Security, Jan 15, 2016, hitps://www justsecurity.org/ 28827 /fixing-pre-
publication -review-donc (suggesting thal the process “has become dysfunctional,
overstepping legitimate national security boundaries and infringing on treed

speech as vell as the publie’s right to know”),

m of

“A copy of the request may be found at https://perma.cc/ 48JC-FW9H.
° A copy of the request may be found at https:/ /perma.cc/WBK4-LM3M.

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Record: disclosed in response to these requests raise new questions
about how the prepublication-review procedures are administered in
practice and the extent to which those procedures have been the subjett of
internal investigation or proposed reform. Accordingly, the Requesgters
now seek additional records.

 

II. Records requested

In relation to cach agency, the Requesters seek the release of} the
following records:

I. all non-disclosure agreements and other agreements, including
templates or standard forms of such agreements, imposing
prepublication-review obligations on agency and/or former
agency employees;

NO

all documents relating to administrative appeals filed ftom
prepublication-review determinations, including but not limited
to:

4. administrative appeals:

9. any correspondence or back-and-forth between an agenty
and an individual who filed an administrative appeal; and

:. final decisions with respect to administrative appeals;

3. all documents relating to any form of sanction imposed] or
considered for imposition, on agency and/or former agency
employees for failure to comply with their prepublication-
‘eview obligations.

In relation to the Central Intelligence Agency (“CIA”) and the CIA’s
Office of Inspector General (“CIA OIG”), the Requesters also scek| the
release of tt ¢ following:

4. all documents related to any investigation by the CIA or GIA
‘QIG into the composition and practices of the Prepublication
Review Board, including any final report.6

In relation to the Department of Homeland Security (“DHS”), |the
Requesters also seek the release of the following:

 

§ See, eg, Creg Miller and Julia Tate, CZA probes publication review board | over
allegations if selective censorship, Wash. Post, May 31, 2019,
hitp://wapo st/2iLpUuP.

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 32 of 67
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5. all documents relating to consideration of proposed “Dirdctive
110-03, Review of Official DHS Information for Public
Release” and “Instruction |10-03-001, Review of External
Publications,” including the non-concurrences of the Office of
Public Affairs and Domestic Nuclear Detection Office; antl

6. all clirectives, instructions, policies, or guidance relatir x la
prepublication review approved after the cut-off date usdd by
DHS in relation to the FOIA request filed by the Requestdrs on
March 3, 2016.

In relation to the Office of the Director of National Intelligence
(ODNI” , the Requesters also seek the release of the following:

7. all [C-wide policies regarding prepublication review issutd by
the Director of National Intelligence;3 and

8 all reports, memoranda, and correspondence relating tb the
adequacy of IC information technology efforts to improve ane
expeclite prepublication review.?

Where a document contains information that falls into onc or more of
the categories described above, we seek the entirety of that document. If
processiny the entirety of a given document would be unusually
burdenso ne, we ask that you give us an opportimity to narrow our
request, Please disclose all segregable portions ol otherwise cxempt
records. See 5 U.S.C. § 552(b).

 

7 See DHS memorandum titked “Directive 110-03, Review of Official! DHS
Information for Public Release & Lostruction 110-03-001, Review of External
Publicatio 1s,” dated July 14, 2014, and produceel in response to the [FOIA
request filed by the Requesters on May 9, 2017 (recommending approvallof the
Directive and Instruction to “provide uniform policy guidance for Deparment
zompone its when given the opportunity to review materials written by| DHS
cinployee: for external publication not necessarily related to their official duties”
and noting non-concurrences from the Office of Public AMairs and Domestic
Nuclear PF etection Office). That memorandum is attached hereto as Exhibit A.

8 See H.R. Rep. No. 114-573, at 7 (2016) (directing that, no later than 18D days
after the Cnactment of the Intelligence Authorization Act For Miscal Year 2017,
the Direc:or of National Intelligence “issue an IC-wide policy regarding pre-
publicatioa review”).

§ id. wt & (directing that, no later than 180 days after the enactment lof the
Intelligence Authorization Act For Fiscal Year 2017, the Directar of National
lutelligence “provide to the congressional intelligence committees a reportion the
adequacy of IC information technology efforts to improve and expedite pre-
publication review processes, and the resources needed to ensure that IC!
elements can meet this direction”).

 

 

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case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 33 of 67

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We ask that you provide responsive electronic records in their nalive
file format. See 5 U.S.C. § 552(a)(3)(B).

Ii. Application for Expedited Processing

The Requesters seck expedited processing pursuant to 5 U.S.C.
§ 552(a)(6X a). There is a “compelling need” for the documents so heht
because the information they contain is “urgent{ly}” needed by) an
organizaticn primarily engaged in disseminating information “to inform
the public about acwal or alleged Federal Government activity.” 5 ULB.C.

§ 552(a)(6)( NCI.

A. The Requesters are primarily engaged in
disseminating information in order to inform the public
about actual or alleged government activity.

The Re yuesters are “primarily engaged in disseminating information”
within the meaning of FOIA. 5 U.S.C. § 2a.

The Kaight First Amendment Institute is a newly established
organization at Columbia University dedicated to defending and
strengthening the freedoms of speech and the press in the digital age.
Research and public education are essential to the Institute’s misgion.
Obtaining information about government activity, analyzing that
information, and publishing and disseminating it to the press and public
are among the core activities the Institute was established to perlorm,| See,
@g-, among others, ACLU v. DOF, 321 F. Supp. 2d 24, 29 5 (D.1D.C.
2004) (finding non-profit public interest group that “gathers informatidn of
potential ir terest to a segment of the public, uses its editorial skills to turn
the raw material into a distinct work, and distributes that work td an
audience” to be “primarily engaged in disseminating information”)

 

The ACLU. is similarly “primarily engaged in disseminz ting
information” within the meaning of FOIA. Obtaining information albout
government activity, analyzing that information, and widely publishing
and clissem nating that information to the press and public are critical jand

substantial components of the ACLU’s work and are among its primary
activities. Sve id,'0

The ACLU regularly publishes STAND, a print magazine that reports
on and analyzes civil Hberties-related current events. The magazine is

 

'© Courts have found that the ACLU as well as other organizations with sirhilar
missions tha: engage in information-dissemination activities similar to the AGLU
are “primarily engaged in disseminating information.” See, @.g., Leadership Confarence
on Civil Rights v. Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 391 F.

Supp. 2d at 29 n.5; Eee. Privacy Info. Ctr. v. DOD, 241 F. Supp. 2d 5, LL (D.D.C.
2003).

 

 

 
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 34 of 67
CO6719741 UNCLASSIFIED

disseminated to over 620,000 people. ‘Ihe ACLU also publishes regular
updates aiid alerts via email to over 2.6 milliou subscribers (both ACLU
members ind non-members). These updates are additionally broadcast to
over 3.2 million social media followers. The magazine as well as the dmail
anc soci:|-media ‘alerts often include descriptions and analysis of
informaticn obtained through FOTIA requests.

The ACLU also regularly issues press releases to call attention to
documents obtained through FOIA requests, as well as other bre: king
news,!! ancl AOLU attorneys ave interviewed frequently for news stories
about doc aments released through ACLU FOIA requests.!?

Similaily, the ACLU publishes reports about government conduct and
civil liberjes issues based on its analysis of information derived from
vasious sources, including information obtained from the government
through FOIA requests. ‘I'his material is broadly circulated to the public
and widely available to cveryone for no cost or, sometimes, for a small fee.

 

0 See, eg, Press Release, American Givil Libertics Union, U.S. Releases Drona| Strike
‘Playbook’ = in Response — to ACLU ~— Lenuisuit (Aug. 6, 4016),
hutps://wew.achorg/uews/ us-releascs-drone-strike-playbook-response-ach
lawsuit; Press Release, American Civil Liberties Union, Secret Documents Describe
Graphic Abuse and Admit Mistakes (Junc 14, 201 6), bttps://www.acluorg/news/cla-
releascs-do zens-torlure-cdocuments-response-achi-lawsuil; Press Release,
American Civil Liberties Union, US. Releases Taryeted Kilkng Mema in Resptns in
Loug-Runwy ACLU Lawsuit (func 23, 2014), https://www.aclu.org/national-
security /ut -releases-targe tcd-killing-memo-response-long-running-achi-lawshit;
Press Release, American Civil Liberties Union, Justice Department White | Paper
Details Rationale for Targeted Killing of — Americans (Feb. 4, 3013),
ittps://ww-w.aclu.org/national-secu rity/justice-department-white-paper-details-
rationale-targeted-killing-americans; Press Release, American Civil) Liberties
Union, Do-wnents Show EBL Monitored Bay Area Occupy Movement (Sept. 14, 2012},
https: //wv-wachtorg/news/ documents-show-{bi-monitored-bay-arca-occu] ry-
movement insidebayareacon.,

12 See eg, Gora Currier, TSA’s Own Files Show Doubtful Science Behind lts Behavioral
Sereen Program, Intercept, Feb. 8, 2017,
hitps://theintereept.com/2017/02/08/tsas-own-files-show-dou btful-sciencd-
. behind-its- schavior-screening-program/ (quoting ACLU attomey Hugh
Nandeysid:); Karen DeYoung, Newly Declassified Document Sheds Light on| How
President Ap roves Drone Strikes, Wash. Post, Aug. 6, 2016, http://wapo.st/2jy62ew
(quoting former ACLU deputy legal clirector Jameel Jaffer); Catherine
Thorbecke, What Newly Released CIA Documents Reveal About ‘Torture’ in its Former
Detention Progam, ABC, June 15, 2016, http://aben.ws/ 2jy40d3 (quoting ACLU
stalf attorney Dror Ladin); Nicky Woolf, US Marshals Spent $LOAL on Tpteinkea Jor
Murrantless Stingray Device, Guardian, Mar. L?, ROLG,
hitps:/ /wvw.theguardian.com/world/2016/mar/ | 7/us-marshals-stingray-
surveillanc :-airborne (quoting ACLU attorney Nathan Freed Wessler); David
Welna, Government Suspected of Wanting CIA Torture Report to Remain Secret, NPR| Dec.
9, 2015, hup://n.pr/2jy2p7 1 (quoting ACLU project director Hina Shami.

 

 
 

Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 35 of 67
CO67T19741 UNCLASSIFIED

ACLU na ional projects regularly publish and disseminate reports |that
include a description and analysis of government documents obtajned
through FOIA requests. The ACLU also regularly publishes bd oaks,
“know your rights” materials, fact sheets, and educational brochuresl/and
pamphlets designed to educate the public about civil liberties issues land
governmer.t policies that implicate civil rights and liberties.

The AGLU publishes a widely read blog where original editprial
content reporting on and analyzing civil rights and civil liberties news is
posted daly. See https://www.aclu.org/blog. ‘The ACLU creates land
disseminates original editorial and educational content on civil rights/and
civil liberies news through multi-media projects, meluding videos,
podcasts, znd interactive features. See https:/ /www.aclu.org/multim¢dia.
The ACLU also publishes, analyzes, and disseminates information
through it heavily visited website, www.aclu.org. The website addresscs
civil rights and civil liberties issues in depth, provides features on {civil
nights and sivil liberties issues in the news, and contains many thousands of
documents relating to the issues on which the ACLU is focused. The
ACLU’s website also serves as a clearinghouse for news about ACLU
cases, as wall as analysis about case developments, and an archive of dase-
related doc uments. ‘Through these pages, and with respect to each specific
civil liberties issue, the ACLU provides the public with educatibnal
material, recent news, analyses of relevant Congressional or execitive
branch action, government documents obtained through FOJA requests,
and further in-depth analytic and educational multi-media features.

 

'3 See, e.g., ugh Handeyside, New Docunents Show This TSA Program Blamed for
Profiting Is Unscientific and Unreliable — But Still It Continues (Feb. 8, 2017, 11:45
AND, https://www.aclu.org/blog/speak-freely/new-documents-show-tsa-
program-bl.med-profiling-unscientific-and-unreliable-still; Carl Takei, ACLU-
Obtained Timuils Prove that the Federal Bureau of Prisons Couered Up hts Visit to the CIA’s
Torture Site (Nov. 22, 2016, 3:15 PM), hitps:// www.aclu.org/blog/speak-
freely /aclu-sbtained-emails-p rove-federal-bureau-prisons-coveredl.teevisis cle

torture; Bret Max Kaufman, Details Abound in Drone ‘Playbook’ — Except Jor the|Ones
That Really Matter Most {Aug. 8, 2016, 3:30 PM),
https://ww-v.aclu.org/blog/ speak-freely/details-abound-drone-playbook-exd ept-
ones-really-inatter-most; Nathan Freed Wessler, ACLU- Obtained Documents J eveal
Breadth of Secretive Stingray Use in Florida (Feb. 22, 2015, 5:30 PM),
hitps://wwv.aclu.org/blog/free-future /aclu-obtained-documents-reveal-
breadth-secretive-stingray-use-llorida; Ashley Gorski, New NSA Documents Shine
More Light nio Black Box of Executive Order 12333 (Oct. 30, 2014, 3:29 PM),
https://wwev.aclu.org/blog/ new-nsa-documents-shine-more-light-black-box4
execulive-order-12333; ACLU, ACLU Eye on the FBI: Documents Reveal Lack of
Privacy Safeguards and Guidance in Government’s “Susprewous Actinity Report” Systems Oct.
29, 201 3}, https://www.aclu.org/sites/default/files/assets/ eye_on_[bi_-
_sars.pdf. .

 

 

 
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 36 of 67
CO6719741 UNCLASSIFIED

‘The ACLU website includes many features on information obtained
through te FOIA.'* For example, the ACLU’s “Predator Drones FOIA”
webpage, — hutps://www.aclu.org/national-seeurity/ predator-drones-foia,
contains commentary about the ACLU’s FOIA request, press relcascs,
analysis of the FOJA documents, numerous blog posts on the ibsue,
document: related to litigation over the FOIA request, [recquently asked
questions aboul targeted killing, and links to the documents themselves.
Similarly, the ACLU maintains an online “Yorture Database!” a
compilatico of over 100,000 pages of FOIA documents that allows
researchers and the public to conduct sophisticated searches of FOIA
documents relating to government policies on rendition, delention,] and
interrogat on.)

The AGLU has also published a number of charts and explanatory
matcrials that collect, suminarizc, and analyze information it has obtdincd
through tae FOIA. For example, through compilation and analysis of
information gathered from various sources-~-including information
obtained from the government through FOIA requests “the ACLU
created att original chart that provides the public and news media with a
comprehensive summary index of Bush-era Office of Legal Colunsel

 

"4 See eg, Nathan freed Wessler & Dyan Cortez, PBI Releases Details of ‘Zer§-Day’
Exploit Decisionmaking Process ~— (June 26, 2015, 11:00 |AM),
| https://wvw.aclu.org/blog/free-fature/ fbi-releases-detai Is-zero-cay-exploit
decisionmaking-process; Nathan Freed Wessler, FRY Decuments Reveall New
Information on Baltimore Surveillance Mights (Oct. 30, 2015, 8:00 AM),
https://wvew.achiorg/blog/free-future/fbi-documents-revcal-new-information-
baluimore-iurveilkunce-llights; ACLU v. DOJ - FOIA Case for Records Relating to the
Killing of ‘Three U.S. Citizens, ACVU Case Page, https://www.achu. org/national-
security /anwar-al-awlaki-foia-request; ACLU », Department of Defense, ACLU| Case
; Page, Jitys://www.aclu.org/cases/aclu-v-departnent-delense; Mapping tha FBI:
Uncuvering Abusive Surveillance and Racial Profiling, ACLU Gase |Page,
https://www.aclu.org/mappingthelbi; Bagram FOIA, ACLU Case Page
hips://www.aclu.org/cases/bagram-foia, CSRT FOIA, ACLU Case |Page,
https://www.aclu.org/national-sccurity/esct-foia; ACLU x, DOJ - Lawsuit to
Enforce NSA Wearrantless Surveillance FOIA Request, ACLU Case Page,
hups://www.achorg/achi-v-doj-lawsuit-cnforce-nsa-warrantless-surveillante-
foia-reque 1; Patriot FOIA, ACY.U Case Page, https://www.aclu.org/patriat-foia;
NSL Docurents Released by DOD, ACLU Case Page, https://www.achi.or u/nsl-
document-released-dod? redirect cpredirect/32088.

 

r.

5 The Torture Database, ACLU, https:/ /www.thetorluredatabase.org, sée alsa
Countering Violent Isxtremism FOIA Database, ACLU, litps://www.actu.org/foia-
collection. cvcetoia-documents, TSA Behawor Detection FOIA Database, ACLU,
hups://wvw.achtorg/{oia-collection/tsa-behavior-cetection-loia-database]
Targeted Lilling POIA Database, ACLU, hitps://www.aclu.org/{oia-collettion /
largeted-kdiny-foia-database.

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 37 of 67
CO6719741 UNCLASSIFIED

memos relating to interrogation, detention, rendition, and surveillange.!6
Similarly, the ACLU produced an analysis of documents released in
response to a FOIA request about the TSA’s behavior detection
program!’; a summary of documents released in response to a FOIA
request relited to the FISA Amendments Act!®; a chart of original statistics
about the Defense Department’s use of National Security Letters based on
its own aralysis of records obtained through FOIA requests!9; and an
analysis o* documents obtained through FOIA requests about |FBI
surveillance flights over Baltimore.

The Re-yuesters plan to analyze, publish, and disseminate to the public
the information gathered through this request at no cost.

B, The records sought are urgently needed to inform the
Jublic about actual or alleged government activity.

The documents sought arc urgently needed to inform the public albout
actual or alleged government activity. See 5 U.S.C. § 552(a)(6)(E\(v)(H).

While cgencies’ prepublication regulations are in part public, | the
implementation of those regulations is almost entirely invisible outside] the
government. ‘The records requested here are urgently needed to allow] the
public to better understand the way the regulations are implemented, land
to enable i to evaluate whether agencies’ prepublication-review procdsses
are effective and fair. The records would also allow the public to batter

_ understand the lawfulness of agencics’ activity on a matter that clasely
relates to fiindamental rights but which presents a significant opportunity
for the abuse’ of discretion, impacting public trust in government. The

 

'8 Index of Bush-Era OLC Memoranda Relating to Interrogation, Detention, Rendition and/or
Surveillance, ACLU (Mar. 5, 2009), https: //www.aclu.org/sites/default/fles/
pdfs/safefrec/ olcmemos_2009_0305 pdf.

'? Bad Trip: Debunking the TSA’s ‘Behavior Detection’ Program, ACLU (2017),
hitps://wwy aaclu.org/sites/default/files/ field_document/dem]1?-
tsa_detection_report-v02 pdf

'8 Summary of FISA Amendments Act FOIA Documents Released on November 29, 2010,
ACLU,
https:/ /wwv/aclu.org/files/pdfs/natsec/faafoia20 101129/20101 1 295uramaty.p
dt. ;

19 Statistics on NSL’*s Produced by Department of — Defense, ACLU,
https://wwv-aclu.org/ other/ statistics-nsls-produced-dod.

20 Nathan Freed Wessler, AB Documents Reveal New Information on Baltimore
Surveillance Ilights (Oct, 30, 2015, 8:00 AM}, htips:/ /www.aclu.org/blog/
future/Mbi-cdk ‘cuments-reveal-new-information-baltimorc-surveillance-flights,

i]

 

 

 
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 38 of 67
CO6719741 : UNCLASSIFIED

effectiveness, fairness, and lawfulness of the prepublication-review process
is a matter of significant public interest and ongoing media attention.2!

For thexe reasons, the Requesters are entitled to expedited processing,
IV. Application for Waiver or Limitation of Fees

‘The Requesters seek a waiver of document search, review, jand
duplication fees on the grounds (hat disclosure of the requested recortls is
in the public interest and that disclosure is “Tikely to contribute
significantly (o the public understanding of the operations or activitits of
the government and is not primarily in the commercial interest of the
requester.” 3 U.S.C. § 552(a)(4)(AM iii.

 

 

For the reasons explained above, disclosure of the records would he in
the public interest. Moreover, disclosure would not further the Requesters’
commercial interests. ‘Fhe requesters will make any information clisclosed
available :o the public al no cost. ‘hus, a fee waiver would fulfill
Congress’s legislative intent in amending FOIA to ensure “that it be
liberally construed in favor of waivers for noncommercial requesters.f’? See

Judicial Weich, Lac. », Rossolti, 326 F.3d 1309, 1312 (D.C. Cir, 2003).

‘The Knight Institute also requests a waiver of search and review feés on
the grounds that it qualifies as an “educational ... institution”? whose
purposes include “scholarly ... research” and the records are not sdught
for commercial use. 5 U.S.C. § 552(a)(4(A)GIID. The Institute has a
substantia’ educational mission. Situated within a prominent acaclemic
research university, the Institute will perform scholarly research ost the
application of the First Amendment in the digital era. ‘Che Institutclis in
the midst of inaugurating a rescarch program that will bring togtther
academics and practitioners of diflerent disciplines to study contemporary
Hirst Amcndment issues and offer informed, non-partisan comme htary
and solutions. It will publish that commentary in ‘many forms-—in
scholarly publications, in long-lorm reports, and in short-form essays.

‘The Requesters also request a waiver of search and review fees oh the
grounds (iat they are “representative[s] of the news media” within the

 

1 See, eg. Thomas Reed Willemain, A Personal Tale of Prepublication Reviews,
Lawtare, Jan. 10, 2017, hhttps:// www lawlarcblog.com/persona|-tale-
prepublica ion-review; Nada Bakos & John Nixon, The CLA Is Delaying Our Books’
Publication, nd That Hurts Our Democracy, Wash. Post, Dec. 22, 2016, hitps:/ /fwww.
washingtor post,com/ypinions/the-cia-is-delaying-our-looks-publication-antl-
that-hurts-our-democracy/2016/ 12/22/068(1 15¢-ba8c-1 1e6-9ac-
313248401 06c_story himi?utm_term=.6c13091097¢3; David Kris, The CIA ts New
Guidelines Governing Publicly Available Information, Lawfare, Mar. 21, (2017,
https: //ww-w.lawfareblog.com/ cias-new-guidelines-governing-publicly-available-
informatio 1; see also supra notes 2 and 3. |

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 39 of 67
CO6719741 UNCLASSIFIED

meaning of FOJA and the records are not sought for commercial ude. 5
US.C. § 5.52(a)(4AGi(Lb.

The Requesters each meet the statutory definition of a “representative
of the news media” because each “gathers information of potential interest
to a segment of the public, uses its editorial skills to turn the raw materials
into a distinct work, and distributes that work to an audience.” 5 UBL.
§ S52(ay(4)(AM(ii); see adso Nav’l Sec. Archive v. DOD, 880 F.2d 138} , 1387 (D.C.
Cir. 1989) (finding that an organization that gathers information, exertises
editorial discretion in selecting and organizing documents, “devises indices
and findinz aids,” and “distributes the resulting work to the public”lis a
“representative of the news media” for purposes of the FOIA); accard \Sero.
Women’s Action Network v. DOD, 888 F. Supp. 2d 282 (D. Conn. 212);
ACLU of Wash. V. DOF, No. C09-0642RSL, 2011 WL 887731, at]*10
(W.D. Wash. Mar. 10, 2011); ACLU, 321 F. Supp. 2d at 30 n.5. Courts
have founc! other non-profit organizations, whose mission of research and
public edu-ation is similar to that of the Requesters, to be “representatives
of the news media.” See, eg. Cause of Action v. IRS, No. 13-0920, 2015|/WL
5120863 (D.C. Cir. Aug. 28, 2015); Elec. Privacy Info. Ctr., 241 F. Supp. 2d
at 10-15 (finding non-profit group that disseminated an electronic
newsletter and published hooks was a “representative of the news metlia”
for purposes of the FOJA); Natl Sec. Archive, 880 F.2d at 1387; Judicial
Waich, Inc. v. DOF, 133 F. Supp. 2d 52, 53--54 (D.D.C. 2000) (finding
Judicial Watch, self-described as a “public interest taw firm,” a news media
requester).

For these reasons, the Requesters are entitled to a fee waiver.

* te *

Thank ‘rou for your attention to our request. We would be happly to
discuss its erms with you over the phone or via email. Please direct any
corresponcence and responses to this request to Ramya Krishnan.

I certify that the above is true and correct to the best of my knowledge.

Sincerely,

/s/ Ramya Krishnan
Ramya Krishnan
Alex Abdo
Knight First Amendment Institute at
Columbia University
1140 Amsterdam Avenue

 

18

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 40 of 67
C06719741 UNCLASSIFIED

206 Kent Hall

New York, N¥ 10027
ramya. krishnan@knightcolumbia.org
(212) 854-1620

Brett Max Kaufiman

Center for Democracy

American Givil Liberties Union
Foundation

125 Broad Street, 17th Floor

New York, NY 10004

bkaufinan@aclu.org

(212) 549-2500

Ine: lex. A (DNS memorandum dated July 14, 2014)

 

 
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U.S, Departn
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DATE, July 14, 2014

MEMORANDUM FOR: Michael Russell
Senior Counselor

DHS Adjudicator

FROM: Brendan LaCivita
Deputy Director, Strategic Communications
DIS Office of Public Affairs
SUBJECT: Directive 110-03, Review of Official DHS Informa

Relcasc & Instruction 110-03-001, Review of Exter

Publications

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M7 2052H

Homeland

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Summary: This Dircctive and Instruction document provide uniform policy guidance for

Department Components when given the opportunity to review materials written
employees for external publication not necessarily related to their official duties.

Need: The Department does not have uniform policy guidance for the review of

written by DHS employees for external publication not necessarily related to theif

py DHS

materials
r official duties.

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Most large federal de sartments, including the Department of Statc and the Department of
Defense, have a uniferm system in place for such employec-writtcn materials. In fact, you will
note in the draft Directive several authorities, including executive orders, delegated to federal

departments that support review of such materials. Jt is important to note here th
such review 1s to prevent the unintentional rctcasc of sensitive, FOUO, or classifi

sole need for
bd information

by DHS employces when writing materials meant for external publication not nedessarily related

to their official duties.

Explanation of Delezated Authorities: The DHS Office of Public Affairs has b

by the Secretary to oversee review of external communications/muterials through

Delegation Authority 2001, and Title 6, USC, “Secretary; functions,” §112 (b)(1}.

Departmental Coorlination: This Directive was cleared by all Components ex!
of the Inspector General (O1G), which claims an overall exemption from DHS

een delegated
both

cept the Office
nagement

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Directives because they challenge OIG"s independent authority status, and the Domestic Nuclear

Detection Office (DMDO), which will not change its non-concurrence until its cd

DHS-001-294-000018
Page 18 of 389

neerms have

 

dnt OF Homeland Security

 
 

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for review of employee-written materials noi necessarily related to their official d
encourage approval as the policy supports a critical agency function in the review
written materials, and because it supports several authoritics. including executive
grant federal agencics authority to review such materials.

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The scope of the types of publications needing OPA review is too broad to

ase 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 42 of 67

been satisfactorily addressed by the Office of the Gencral Counsel. Specifically, IDNDO's
concems are:

be

implementable or cnforccable. OPA non-concurred and explained the MD clearly

states what is/is not covered.
OPA should not have oversight over information exchanges between U.S.
agencics or state, local, tribal, and territorial governments, OPA non-cond

Government
urred and

referenced section [1 D, 3 which clearly states information to state, local, tribal, and

territorial governments is exempt.
DNDO interpr-ts the MD to cover conversations it has with industry partn
its programs and that OPA review of such information exchange is imappre

rrs concerning
priate and

unnecessary. OPA non-concarred and referenced sectien If D, 3 which clearly states

information to industry partners is exempt.
The MD raiscs a constitutional issuc in that OPA believes it is empowered
unofficial infomation release to the public by employees or former emplo

has lifetime control over individuals’ speaking or writing. OPA nen-coned
deferred action to OGC.

_DHS-001-294-000019

to review
vees as IF OPA
urred and

Recommendation: While OPA was able to reach concurrence with DNDO on several other
concerns raised we recommend you approve this Directive, cither with or without
DNDO concurrence, t ccause currently there is no uniform Department review process in place

liies. We also

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of employee-
orders, which

 

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 44 of 67

EXHIBIT F -

CIA ACKNOWLEDGEMENT LETTER
RE: FOIA REQUEST NO. 2

DATED 20 DEC 2017
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 45 of 67

Central Intelligence Agency

   

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20 December 2017

Ms. Ramya Krishnan

Knight First Amendment Institute at
Columbia University

1140 Amsterdam Avenue

206 Kent Hall

New York, NY 10027

Reference: F-2018-0051 |

Dear Ms. Krishnan:

On 18 December 2017, the office of the Information and Privacy Coordinator received your 13 December
2017 Freedom of Information Act (FOIA) request, submitted on behalf of the Knight First Amendment
Institute at Columbia University, the American Civil Liberties Union, and the America Civil Liberties
Union Foundation, for records pertaining to the prepublication-review requirements of Intelligence
Community (“IC”) agencies. Specifically, [you] seek the release of the following records:

1. All non-disclosure agreements and other agreements, including templates or standard
forms of such agreements, imposing prepublication-review obligations on agency and/or

former agency employees;

2. All documents relating to administrative appeals filed from prepublication-review
determinations, including but not limited to:

a. Administrative appeals;

b. Any correspondence or back-and-forth between an agency and an individual who
filed an administrative appeal; and,

c. Final decisions with respect to administrative appeals;

3. All documents relating to any form of sanction imposed, or considered for imposition, on

agency and/or former agency employees for failure to comply with their prepublication-
review obligations; and,

4. All documents related to any investigation by the CIA or CIA OIG into the composition and
practices of the Prepublication Review Board, including the final report.
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 46 of 67

You have requested expedited processing. Generally, we handle all requests in the order we receive
them; that is “first-in, first out.” We make exceptions to this rule when a requester establishes a
compelling need in accordance with our regulations. We have reviewed your request and determined it
does not meet the criteria for expedited processing. Specifically, the request neither involves an imminent
threat to the life or physical safety of an individual, nor is it made “by a person primarily engaged in
disseminating information, and the information is relevant to a subject of public urgency concerning an
actual or alleged or Federal activity.” Therefore, we have determined that you have not established a
“compelling need” for the information as set forth in 32 CFR § 1900.34. Your request for expedited
processing is hereby denizd. You may appeal this decision, in my care, within 90 days from the date of
this letter. Should you ckoose to appeal! the denial of your réquest for expedited processing, you are
encouraged to provide an explanation supporting your appeal,

Our officers will review your request in more detail and will advise you should they encounter any
problems or if they cannct begin the search without additional information or clarification. We have
assigned your request the reference number above. Please use this number when corresponding so that
we can identify it easily. Unless you object, we will limit our search to CIA-originated records up to and
including the date the Ag =ncy starts its search. In accordance with our regulations, as a matter of
administrative discretion, the Agency has waived the fees for this request.

Sincerely,

Wf —

Allison Fong
Information and Privacy Coordinator
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 47 of 67

EXHIBIT G -

CIA’S LETTER TO PLAINTIFF RE
REQUEST TO MODIFY THE SCOPE OF
REQUEST NO. 2

DATED 12 JAN 2018
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 48 of 67

Central Intelligence Agency

 

12 January 2018

Ms. Ramya Krishnan

Knight First Amendment Institute at
Columbia University

1140 Amsterdam Avenue

206 Kent Hall

New York, NY 10027

Reference: F-2018-00511]

Dear Ms. Krishnan:

This is further to our letter dated 20 December 2017 regarding your 13 December 2017 Freedom
of Information Act request, submitted on behalf of the Knight First Amendment Institute at
Columbia University, the American Civil Liberties Union, and the American Civil Liberties
Union Foundation, for records pertaining to the prepublication-review requirements of

Intelligence Community (“IC”) agencies. Specifically, [you] seek the release of the
following records:

1. All non-disclosure agreements and other agreements, including templates or

standard forms of such agreements, imposing prepublication-review obligations
on agency and/or former agency employees;

2. All documents relating to administrative appeals filed from prepublication-review
determinations, including but not limited to:

a. Administrative appeals;

b. Any correspondence or back-and-forth between an agency and an individual
who filed an administrative appeal; and,

c. Final decisions with respect to administrative appeals;

3. All documents relating to any form of sanction imposed, or considered for
imposition, on agency and/or former agency employees for failure to comply with
their prepublication-review obligations; and,

4. All documents related to any investigation by the CIA or CIA OIG into the

composition and practices of the Prepublication Review Board, including the final
report.
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 49 of 67

Upon review concerning the scope of your request, the appropriate office suggested that we
reach out to you as your request is quite broad. Therefore, we are reaching out to you to help
revise your request in a manner that helps you and us with our search efforts. We recommend
the following modifications to your request.

With respect to Item 1, we would like to propose modifying your request to “All non-disclosure
agreement forms/templates, currently in use, imposing pre-publication review obligations
on agency and/or former agency employees within the past year.”

With respect to Item 2, we would like to propose modifying your request to “All documents
filed within the past y2ar relating to administrative appeals filed from prepublication-
review determinations, including but not limited to: a. Administrative appeals; b. Any
correspondence or back-and-forth between an agency and an individual who filed an
administrative appeal; and, c. Final decisions with respect to administrative appeals.”

With respect to Item 3, we would like to propose modifying your request to “All documents
relating to any form of sanction imposed, or considered for imposition, on agency and/or

former agency employees for failure to comply with their prepublication-review obligations
within the past year.”

|
With respect to Item 4, we would like to propose modifying your request to “All documents
related to any investigation by the CIA or CIA OIG into the composition and practices of
the Prepublication Review Board, including the final report, within the past year.”

We will hold your request in abeyance for 45 days from the date of this letter pending your
response to our proposed modifications.

Sincerely,

fg —

Allison Fong
Information and Privacy Coordinator
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 50 of 67

EXHIBIT H -

PLAINTIFF’S LETTER TO CIA
AGREEING TO NARROW THE SCOPE
O}f ITEMS 1-3 LISTED IN

REQUEST NO. 2

DATED 24 JAN 2018
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 51 of 67
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KNIGHT

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, AMERICAN CIVIL LIBERTIES UNION
at Columbia University

January 24, 2018

Allison Fong

Information and Privacy Coordinator
Central Intelligence Agency
Washington, D.C. 20505

Jan 79 2018

Ret FOIA Request No. F-2018-00511
Dear Ms. Fong,

T am writing in response to your letter dated January 12, 2018, which
proposed a number of modifications to the Freedom of Information Act
request we submitted on December 13, 2017.

With respect to Item 1, we accept your proposal to limit our request to
“[a]ll non-disclosure agreement forms/templates” that are “currently in

use,” but we do not accept the additional limitation of “within the past
year.”

With respect to Item 2, we propose that the agency process the last year
of responsive records for now, subject to our right to ask that the agency
process responsive records for additional years. We would likely only

exercise that right if there are few responsive records from the last year or
ifthe records from the last year do not appear represeniative.

With respect to Item 3, we propose that the agency process the last year
of responsive records for now, subject to our right to ask that the agency
process responsive records for additional years. We would likely only
exercise tliat right if there are few responsive records from the last year or
if the records from the last year do not appear representative.

I would be happy to discuss your proposals and our response further.

But, for the sake of convenience, I would be grateful if you could send all
future cor-espondence via email.

Sincerely,

/s/ Ramya Krishnan
Ramya Krishnan

 

1140 Amsterdam Ave., 206 Kent Hall, New York, NY 10027 | knightcolumbia.org { (21218541620 | ramya.krishnan@knightcolumbia.org

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 52 of 67
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Alex Abdo

Knight First Amendment Institute at
Columbia University

1140 Amsterdam Avenue

206 Kent Hall

New York, NY 10027

ramya.krishnan@knightcolumbia.org

(212) 854-1620

Brett Max Kaufman

Center for Democracy

American Civil Liberties Union
Foundation

125 Broad Street, 17th Floor

New York, NY 10004

bkaufman@aclu.org

(212) 549-2500

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Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 54 of 67

EXHIBIT I -

CIA’Ss LETTER TO PLAINTIFF
REQUESTING CLARIFICATION RE
ITEM 4 IN REQUEST NO. 2

DATED 2 FEB 2018
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 55 of 67

Central Intelligence Agency

 
  
 

Washington, D.C. 20505

2 February 2018

Ms. Ramya Krishnan

Knight First Amendment Institute at
Columbia University

1140 Amsterdam Avenue

206 Kent Hall

New York, NY 10027

Reference: F-2018-00511

Dear Ms. Krishnan:

This acknowledges receipt of your 24 January 2018 letter, received in the office of the
Information and Privacy Coordinator on 29 January 2018, wherein your provided information
requested in our letter dated 12 January 2018 concerning your 13 December 2017 Freedom of
Information Act (FOIA) request for records pertaining to the prepublication-review

requirements of Intelligence Community (“IC”) agencies. Specifically, [you] seek the
release of the following records:

1. All non-disclosure agreements and other agreements, including templates or
standard forms of such agreements, imposing prepublication-review obligations on
agency and/or former agency employees;

2. All documents relating to administrative appeals filed from prepublication-review
determinations, including but not limited to:

a. Administrative appeals;

b. Any correspondence or back-and-forth between an agency and an individual
who filed an administrative appeal; and,

ce. Final decisions with respect to administrative appeals;
3. All documents relating to any form of sanction imposed, or considered for

imposition, on agency and/or former agency employees for failure to comply with
their prepublication-review obligations; and,
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 56 of 67

4. All documents related to any investigation by the CIA or CIA OIG into the
composition and practices of the Prepublication Review Board, including the final
report.

Specifically, you advised that you would accepted our proposals in regards to the following:

1. AH non-disclosure agreement forms/templates, currently in use, imposing
prepublication-review obligations on agency and/or former agency employees;

2. All documents filed within the past year relating to administrative appeals filed
from prepublication-review determinations, including but not limited to:

a. Administrative appeals;

b. Any correspondence or back-and-forth between an agency and an individual
who filed an administrative appeal; and,

c. Final decisions with respect to administrative appeals; and,

3. All documents relating to any form of sanction imposed, or considered for
imposition, on agency and/or former agency employees for failure to comply with
their prepublication-review obligations within the past year.

Unfortunately, your ressonse did not include a determination in regards to Item 4. Specifically,
we proposed modifying your request to “All documents related to any investigation by the
CIA or CIA OIG into the composition and practices of the Prepublication Review Board,
including the final report, within the past year.” Without this determination, we are unable to
process your request, at it remains too broad to search.

We will hold your request in abeyance for 45 days from the date of this letter pending your
response.

Sincerely,

“fg —

Allison Fong
Information and Privacy Coordinator
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 57 of 67

EXHIBIT J -

PLAINTIFEF’S LETTER TO CIA
REJECTING CIA’S REQUEST TO LIMIT
ITEM 4 IN REQUEST NO. 2 AND
PLAINTIFE’S COUNTER-PROPOSAL RE
ITEM 4

DATED 16 FEB 2018
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 58 of 67
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KNIGHT
FIRST AMENDMENT
INSTITUTE

ee ’ ; AMERICAN. CIVIL LIBERTIES UNION
at Columbia University

February 16, 2018

    

Allison Fong

Information and Privacy Coordinator
Central Imelligence Agency
Washington, D.C. 20505

FEB.22 201

Re FOTIA Request No. F-2018-00511

Dear Ms. Tong,

Lam writing in response to your letter dated February 2, 2018.

As a preliminary matter, we object to your characterization of our initial
response dated January 24, 2018. You state that we “advised that [we]
would accc pt[} [y]our proposals” in relation to items 1 to 3 of our FOIA
request, bit that is inaccurate. In fact, we accepted your proposal with
respect to icem | in part only, and we made counter-proposals with respect
to items 2 and 3. We have attached our letter of January 24, 2018, which
continues t) represent our views of items | to 3 of our FOIA request.

Secondly, we reject your proposal to narrow item 4 to “All documents
related to <ny investigation by the CIA or CIA OIG into the composition

and practices of the Prepublication Review Board, including the final
report, within the past year,”

We propose instead narrowing item 4 to:

a. ny document, including final report, related to the investigation
begun by the CIA or CIA OIG in or about May 2012 into the

composition and practices of the Prepublication Review Board!
(‘new item 4(a)”);

b. Any document, including final report, related to any investigation
ty the CIA or CIA OIG into the composition and practices of

tae Prepublication Review Board within the last five years (“new
"Lem 4(b)").

 

| Greg Mille & Julia Tate, CIA Probes Publication Review Board over Allegations of Selective
Censorship, Wash. Post, May 31, 2012, http://wapo.st/2iLpUuP.

475 Riverside Drive, Suite 332, New York, NY 10% 1S | knightcolumbia.org | (646) 745-8506 | tanya krishnan@knightcolombia.org

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Case 1:18-cv-01129-EGS Document.28-2_Eiled 06/06/19 Pane 59 of 67
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This is cur final position in relation to the scope of item 4. If you consider
new item 4b) overbroad, we request that you still begin processing new item
4{a), in adcition to the remainder of our request. If you decide not to do so,
we will decm you to have constructively denied our request in its entirety,
and we may pursue other relief.

I would be happy to discuss your proposals and our response further.
However, | reiterate our past request that future correspondence be sent via
email.

Please rote that the Knight First Amendment Institute at Columbia

University has moved to 475 Riverside Drive, Suite 302, New York, NY
LOLL5.

Sincerely,

‘ /s/ Ramya Krishnan
Ramya Krishnan
Alex Abdo
Knight First Amendment Institute at
Columbia University
475 Riverside Drive, Suite 302
New York, NY 10115
ramya.krishnan@knightcolumbia.org
(646) 745-8506

 

Brett Max Kaufman

Center for Democracy

American Civil Liberties Union
Foundation

125 Broad Street, 17th Floor

New York, NY 10004

bkaufman@aclu.org

(212) 549-2500

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Case 1:18-cv-01129-EGS Document 38-2._Filed 06/06/19 Page 60 of 67

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FIRST AMENDMENT
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at Columbia University

January 24, 2018

   

Allison Fong

Information and Privacy Coordinator
Central Invelligence Agency
Washingtoa, D.C. 20505

Re: FOIA Request No. F-2018-00511

Dear Ms. ‘ong,

Iam writing in response to your letter dated January 12, 2018, which
proposed 2 number of modifications to the Freedom of Information Act
request we submitted on December 13, 2017.

With re:pect to Item 1, we accept your proposal to limit our request to
“{a]ll non-disclosure agreement forms/ templates” that are “currently in

use,” but we do not accept the additional limitation of “within the past
year.”

With respect to Item 2, we propose that the agency process the last year
of responsive records for now, subject to our right to ask that the agency
process responsive records for additional years. We would likely only
exercise thz.t right if there are few responsive records from the last year or
if the records from the last year do not appear representative.

With respect to Item 3, we propose that the agency process the last year
of responsive records for now, subject to our right to ask that the agency
process responsive records for additional years. We would likely only
exercise that right if there are few responsive records from the last year or
if the recorcls from the last year do not appear representative.

I would be happy to discuss your proposals and our response further.
But, for the sake of convenience, I would be grateful if you could send all
future correspondence via email.

Sincerely,

/s/ Ramya Krishnan
Ramya Krishnan

1140 Amsterdam Ave,, 206 Kent Hall, New York, NY 10027 { knightcolumbia.org | (212) 854-1620 i ramya krishnaa@knightcolumbia org

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EXHIBIT K -

CIA’S LETTER TO PLAINTIFFS
SUMMARIZING PROPOSED
MODIFICATIONS TO REQUEST NO. 2

DATED 1 MAR 2018
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 63 of 67

Central Intelligence Agency

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Washington, D.C. 20505

1 March 2018

Ms. Ramya Krishnan

Knight First Amendment Institute at
Columbia University

475 Riverside Drive

Suite 302

New York, NY 10115

Reference: F-2018-00511

Dear Ms. Krishnan:

This acknowledges receipt of your 16 February 2018 letter, received in the office of the
Information and Privacy Coordinator on 22 February 2018, regarding your 13 December 2017

Freedom of Information Act (FOIA) request. Based on your 16 February letter, CIA will
conduct a search for the following:

1. All non-disclosure agreement forms/templates, currently in use, imposing
prepublication-review obligations on agency and/or former agency employees.

2. All documents filed within the past year relating to administrative appeals filed
from prepublication-review determinations, including but not limited to:

a. Administrative appeals;

b. Any correspondence or back-and-forth between an agency and an individual
who filed an administrative appeal; and,

c. Final decisions with respect to administrative appeals.

3. All documents relating to any form of sanction imposed, or considered for
imposition, on agency and/or former agency employees for failure to comply with
their prepublication-review obligations within the past year.
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 64 of 67

4. All document related to any investigation by the CIA or CIA OIG into the
composition and practices of the Prepublication Review Board, including the final
report, specifically:

a. Any document, including final report, related to the investigation begun by
the CIA or CIA OIG in or about May 2012 into the composition and
practices of the Prepublication Review Board; and,

b. Any document, including final report, related to any investigation by the CIA
or CIA OIG into the composition and practices of the Prepublication Review
Board within the last five years.

With respect to Items 2 and 3, we note your request that you be permitted to ask the Agency to
process records for add:tional years if you are dissatisfied with the Agency’s response to the
request for responsive racords “within the past year.” We are unable to accommodate that
Tequest, as we are unab'e to expand upon requests once a final response has been issued.
However, if you are dissatisfied with the Agency’s request to records within the past year that
are responsive to Items 2 and 3, you may submit a new FOIA request for records for additional
years. Alternatively, in order to ensure that you are satisfied with the Agency’s processing of
your request for Items Z and 3, we propose searching for records responsive to Items 2 and 3
within the past five yeas. Please advise within 45 days whether either of these options are
agreeable to you. We will hold your request in abeyance until we hear from you in writing.

We note your change o” address and will update our records accordingly.
Sincerely,

lity

Allison Fong
Information and Privacy Coordinator
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 65 of 67

EXHIBIT L -

CIA’S LETTER TO PLAINTIFFS
SUMMARIZING PROPOSED
MODIFICATIONS TO REQUEST NO. 2

DATED 11 MAY 2018
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 66 of 67

Central Intelligence Agency

 

11 May 2018

Ms. Ramya Krishnan

Knight First Amendment Institute at
Columbia University

475 Riverside Drive

Suite 302

New York, NY 10115

Reference: F-2018-00511
Dear Ms. Krishnan:

This is further to our letter dated 1 March 2018 concerning your 13 December 2017 Freedom of
Information Act (FOIA) request, in which we propose the following modifications:

1. All non-disclosure agreement forms/templates, currently in use, imposing
prepublication-review obligations on agency and/or former agency employees,
within the past five years.

2. All documents filed within the past five years relating to administrative appeals filed
from prepublication-review determinations, including but not limited to:

a. Administrative appeals;

b. Any correspondence or back-and-forth between an agency and an individual
who filed an administrative appeal; and,

ce. Final decisions with respect to administrative appeals.

3. All documents relating to any form of sanction imposed, or considered for
imposition, on agency and/or former agency employees for failure to comply with
their prepublication-review obligations within the past five years.

4. All document related to any investigation by the CIA or CIA OIG into the

composition and practices of the Prepublication Review Board, including the final
report, specifically:
Case 1:18-cv-01129-EGS Document 38-2 Filed 06/06/19 Page 67 of 67

a. Any document, including final report, related to the investigation begun by
the CIA or CIA OIG in or about May 2012 into the composition and
practices of the Prepublication Review Board; and,

b. Any document, including final report, related to any investigation by the CIA
or CIA DIG into the composition and practices of the Prepublication Review
Board within the last five years.

As indicated in our 20 December 2017 letter, we will limit our search to CIA-originated records
as described in our proposed modified request. Additionally, as also stated in our
20 December 2017 letter, in accordance with our regulations, as a matter of administrative

discretion, the Agency 1as waived the fees for this request. Therefore, we will begin the search
as proposed unless we hear from you otherwise in writing,

Sincerely,

Dif

Allison Fong
Information and Privacy Coordinator
